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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF NEW YORK

NATIONAL RIFLE ASSOCIATION OF               §
AMERICA,                                    §
                                            §
             Plaintiff,                     §
                                            §    CIVIL CASE NO. 18-CV-00566-TJM-
v.                                          §    CFH
                                            §
ANDREW CUOMO, both individually and         §
in his official capacity; MARIA T. VULLO,   §
both individually and in her official       §
capacity; and THE NEW YORK STATE            §
DEPARTMENT OF FINANCIAL                     §
SERVICES,                                   §
                                            §
             Defendants.                    §

      MEMORANDUM OF LAW IN OPPOSITION TO MOTION TO DISMISS

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       Plaintiff the National Rifle Association of America (the “NRA”) submits this

Memorandum of Law in Opposition to the Motion to Dismiss (“Motion”) of defendants New York

Governor Andrew Cuomo (“Cuomo”); Maria T. Vullo (“Vullo”); and the New York State

Department of Financial Services (“DFS”) (collectively, “Defendants”), as follows:

                               I. PRELIMINARY STATEMENT

       “Viewpoint discrimination is anathema to free expression,” and state action that disfavors

or punishes speakers based on their viewpoint is impermissible under the First Amendment.1

Although Defendants do not (openly) dispute this bedrock constitutional principle, their actions,

set forth in the Amended Complaint, have run well over the line and infringed the constitutional

rights of the NRA. In furtherance of Governor Cuomo’s crusade to “put the gun lobby out of

business” in New York, Defendants leveraged the coercive power of the state with a singular goal:

to bankrupt the NRA, and others who share its views, thereby extinguishing their advocacy.2

        To achieve their aim, Defendants constructed a censorship-and-retaliation scheme based

on backroom bullying, selective prosecution, and thinly veiled threats directed at banks and

insurance companies who dared to do business with the NRA. Because public officials may not

discriminate based on viewpoint, it is axiomatic that Defendants could not simply enact an explicit

rule forcing financial institutions to blacklist gun-rights advocates. So instead, Defendants




1
 Pittsburgh League of Young Voters Educ. Fund v. Port Auth. of Allegheny Cnty., 653 F.3d 290,
296 (3d Cir. 2011); R.A.V. v. City of St. Paul, 505 U.S. 377, 382 (1992); Perry Educ. Ass’n v. Perry
Local Educators’ Ass’n, 460 U.S. 37, 46 (1983).
2
      See     Andrew      Cuomo,       FACEBOOK       (Aug.   4,    2018,    9:50      AM),
https://www.facebook.com/andrewcuomo/posts/10155989594858401, attached as Exhibit A to
the Declaration of Stephanie L. Gase in Support of Memorandum of Law In Opposition to Motion
to Dismiss, dated August 24, 2018 (the “Gase Declaration”).

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“urge[d]” them to do so—via a pair of warning letters sent by New York’s primary financial

regulator, DFS, to chief executive officers of DFS-regulated entities.3

          At the same time, Defendants reinforced their public exhortations with covert, backchannel

threats.4 And Defendants delivered on their threats: shortly after it issued the warning letters, DFS

announced a pair of punitive “consent” decrees imposed on two insurance companies that brokered

and underwrote policies for NRA members, along with an “investigation” of a third company.5

          Defendants’ actions have successfully deterred banks6 and insurers7 from providing

services to Second Amendment advocacy groups, like the NRA, who may incur “politically

motivated . . . disfavor[] with the New York State DFS.”8 One executive worried that his firm

could not take the risk of losing its license should it fail to “drop” the NRA.9 And in the immediate

wake of Defendants’ actions, Lloyd’s of London—which had no involvement with the insurance

programs that purportedly triggered the DFS investigation—announced that it would “direct

underwriters to terminate all insurance offered, marketed, endorsed, or otherwise made available

through the National Rifle Association of America.”10 Lloyd’s explicitly cited DFS scrutiny as



3
    See Dkt. 37-1, 37-2, 37-3.
4
    See Compl. at ¶¶ 38, 75, 86.
5
    See Dkt. 37-4; Dkt. 37-5; Dkt. 37-6.
6
 See Compl. at ¶ 67; see also id. at ¶ 68, citing Neil Haggerty, Gun issue is a lose-lose for banks
(whatever their stance), AMERICAN BANKER (Apr. 26, 2018, 1:11 PM),
https://www.americanbanker.com/news/gun-issue-is-a-loselose-for-banks-whatever-their-stance.
7
    See Compl. at ¶¶ 41, 44, 52.
8
 Neil Haggerty, Gun issue is a lose-lose for banks (whatever their stance), AMERICAN BANKER
(Apr. 26, 2018, 1:11 PM), https://www.americanbanker.com/news/gun-issue-is-a-loselose-for-
banks-whatever-their-stance.
9
    See Compl. at ¶ 42.
10
     See Dkt. 37-6.

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the reason for its decision.11 At the same time, a number of banks became newly reluctant to

provide depository and related services to the NRA.12 Insurance for the NRA’s corporate

activities, including media broadcasts that constitute clear, core political speech, also became more

difficult to find.13        Meanwhile, Cuomo publicly gloats about the success of Defendants’

blacklisting campaign: boasting of “forcing the NRA into financial crisis” and vowing, “we won’t

stop until we shut them down.”14

          Just as the Constitution prohibits overt censorship, it also prohibits “[i]nformal measures”

such as “coercion, persuasion, and intimidation”15 that improperly target speech, including

measures that “suffocate[]” a disfavored speaker by “depriving [it] of . . . revenues” or “scaring

off its payments-service providers.”16 To identify implicit censorship regimes like this one, courts

must “look through forms to the substance” of government conduct and determine, in light of

surrounding context, whether state officials have leveraged their power in a way that offends the

First Amendment.17

          Because this totality-of-the-circumstances analysis dooms the present Motion, Defendants




11
     See id.
12
     See Compl. at ¶¶ 67-68.
13
     See id. at ¶¶ 65-66.
14
        Andrew      Cuomo,     FACEBOOK      (Aug.    3,    2018,      12:16      PM),
https://www.facebook.com/andrewcuomo/posts/10155987290088401, attached as Exhibit B to
the Gase Declaration.
15
   See White v. Lee, 227 F.3d 1214, 1228 (9th Cir. 2000) (quoting Bantam Books, Inc. v. Sullivan,
372 U.S. 58, 67 (1963)); see also Zieper v. Metzinger, 474 F.3d 60, 66 (2d Cir. 2007) (opining that
“it is necessary to consider the entirety of the defendants’ words and actions in determining
whether they could reasonably be interpreted as an implied threat”).
16
     Backpage.com, LLC v. Dart, 807 F.3d 229, 231 (7th Cir. 2015).
17
     See Bantam Books, Inc., 372 U.S. at 67.

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strain to present each element of their scheme as an isolated act, “entirely unrelated” to other,

simultaneous acts by the same officials targeting the same political enemy.18 Sidestepping the

warning letters that DFS issued to regulated entities just before it announced penalties against two

of them, Defendants focus their Motion on the purported insurance infractions identified in the

Lockton and Chubb Consent Orders, insisting that this is a case about “unlawful conduct,” not

speech. But even viewed piecemeal, the Consent Orders reveal Defendants’ true agenda: they

target only NRA-related products, ignore identical marketing practices by the same insurance firms

in connection with non-NRA products, and prohibit future lawful business relationships with the

NRA.19

          The DFS warning letters that accompanied the Consent Orders focus explicitly on speech.

In the letters, DFS (which routinely imposes eight-figure fines on institutions with inadequate risk

controls)20 invokes the “risk management” obligations of New York financial institutions, and

directs them to “take prompt actions” to manage vague “risks” that arise not only from dealings




18
     See Motion at 12.
19
   Indeed, the Consent Orders by themselves are unconstitutional, amounting to selective
prosecution in violation of the Equal Protection Clause. See discussion infra at Section III.C.
20
   See, e.g., Bonnie Sinnock, New York fines Nationstar $5M for past compliance flaws, NATIONAL
MORTGAGE NEWS (Apr. 11, 2018, 2:18 PM), https://www.nationalmortgagenews.com/news/new-
york-fines-nationstar-5m-for-past-compliance-flaws; New York State Department of Financial
Services Fines Goldman Sachs $54.75 Million For Unsafe And Unsound Conduct In Its Foreign
Exchange         Trading       Business,      MONDO       VISIONE       (Jan.      5,     2018),
http://www.mondovisione.com/media-and-resources/news/new-york-state-department-of-
financial-services-fines-goldman-sachs-5475-mill/; Jenny Strasburg, Deutsche Bank to Pay $205
Million Fine to End N.Y. Currency-Trading Probe, THE WALL STREET JOURNAL (June 20, 2018,
1:57 PM), https://www.wsj.com/articles/deutsche-bank-to-pay-205-million-fine-to-end-n-y-
currency-trading-probe-1529517428; Tony Adams, Aflac fined $1.1 million by New York financial
regulators, LEDGER-ENQUIRER (July 10, 2018, 5:04 PM), https://www.ledger-enquirer.com/latest-
news/article214637690.html.

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with the NRA, but any “similar organization” engaged in so-called “gun promotion” advocacy.21

In a press release that heralded the DFS letters, DFS Superintendent Vullo dispelled any ambiguity

about the “prompt actions” Defendants sought: she commended several DFS-regulated entities

who already agreed to “realign their company’s values” and sever ties with the NRA, and directly

“urge[d] all insurance companies and banks doing business in New York to join [them].”22

Simultaneously, Defendants pursued blunt, backchannel communications with banks and insurers

that reinforced their message: it’s bad business in New York to do business with the NRA, or any

other “gun promotion” organization.

          Unable to pretend that these communications were viewpoint-neutral, Defendants now

claim they were mere suggestions—not coercive directives. But where, as here, an official’s

communications urging adverse action against a disfavored speaker “may reasonably be viewed

as an implicit threat,”23 the line from permissible persuasion to unconstitutional coercion is

crossed. As detailed in the Amended Complaint, banks and insurers not only could—but did—

reasonably perceive Defendants’ contemporaneous regulatory directives and enforcement actions

for what they were: a sophisticated and coherent campaign to deter dealings with gun-rights

groups. Financial institutions took Defendants’ threats seriously—and acted upon them.

          Defendants argue that unless this Court blesses their current conduct, all government

actions “that could ever theoretically affect an organization whose ‘major purpose’ is political

speech would violate the organization’s First Amendment rights.”24 Not so. The NRA brings this



21
     See Dkt. 37-2, 37-3.
22
     See Dkt. 37-1.
23
     See Rattner v. Netburn, 930 F.2d 204, 210 (2d Cir. 1991).
24
     See Motion at 25.

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action to redress an extraordinary, specific, and clear pattern of viewpoint-based coercion that

seeks to silence Second Amendment advocates by depriving them of financial services in this

State.25

           The Court should deny the motion to dismiss.

                                   II. STATEMENT OF FACTS

A.         Defendants Are Engaged In A Multi-Pronged Campaign That Seeks To Chill The
           NRA’s Political Speech.

           The Motion emphasizes DFS’s investigation of a particular NRA-endorsed insurance

product known as Carry Guard and attempts to couch many of Defendants’ actions as appropriate

enforcement responses to “unlawful conduct” allegedly affecting Carry Guard.26 However, as the

Amended Complaint makes clear, Carry Guard was never Defendants’ real focus. Long before

the NRA commenced this lawsuit, DFS’s investigation expanded to encompass life insurance,

health insurance, and other insurance transactions that share no features whatsoever with Carry

Guard. In fact, none of the Consent Order provisions challenged by this lawsuit concern Carry

Guard, and DFS’s exhortative “guidance” to banks and insurers had nothing to do with Carry

Guard. Put simply, Defendants’ focus on Carry Guard in their Motion to Dismiss is a red herring.

           In truth, the DFS enforcement actions that purportedly stem from its Carry Guard

investigation are now known to be part of a multi-pronged attempt to disrupt any and all business

arrangements between the NRA and New York financial institutions. This explains why DFS’s

actions have extended far beyond Carry Guard, and underscores why those actions—including the

consent decrees coerced from Lockton and Chubb, the ongoing investigation of Lloyd’s, and




25
     See Compl. at ¶¶ 17, 20.
26
     See, e.g., Motion at 17-19.

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Defendants’ contemporaneous threats to other entities—are not, as the Motion insists, “entirely

unrelated.”27 The Amended Complaint alleges, and discovery will further prove, that Defendants’

multiple, simultaneous actions targeting the NRA represent a conspiracy, not a coincidence.28

          1.      Defendants’ Actions Go Well Beyond Carry Guard And Seek to Extinguish
                  Financial Arrangements By The NRA Which Were Never Alleged To Be
                  “Unlawful.”

          The first publicized step in what can now be seen as Defendants’ campaign against the

NRA occurred in October 2017, when DFS commenced an investigation that focused nominally

on Carry Guard, an insurance product that covers expenses arising from the lawful use of a legally

possessed firearm in self-defense.29 The Carry Guard investigation focused, initially, on Lockton,

a major insurance broker that served as broker and administrator for the Carry Guard product.

Although the regulatory violations alleged with respect to Carry Guard were relatively specific to

firearms self-defense,30 the majority of insurance policies administered by Lockton for the NRA

consist of “life, health, property, and casualty insurance that resemble policies offered by Lockton

to other affinity groups.”31       Within weeks of commencing the Carry Guard investigation,

Defendants began investigating all insurance programs administered by Lockton and endorsed by

the NRA32—while ignoring identical business arrangements between Lockton and its non-NRA

clients.33



27
     See id. at 12.
28
     See Compl. at ¶¶ 114-120.
29
     See id. at ¶ 32.
30
     See id. at ¶ 36.
31
     See id. at ¶ 32; Dkt. 37-4; Dkt. 37-5.
32
     See Compl. at ¶¶ 54-55.
33
     See id. at ¶¶ 58-59.

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          Indeed, the enforcement actions that publicly began with the Carry Guard inquiry rapidly

expanded to target insurance programs which have nothing to do with firearms.34 Under the

auspices of the same investigation, Defendants targeted other DFS-regulated entities apart from

Lockton which did business with the NRA. At first, Defendants served subpoenas (and later

imposed penalties) on Chubb Group Holdings, Inc. and Illinois Union Insurance Company

(together, “Chubb”), the insurance carrier that underwrote Carry Guard.35 Yet, as with Lockton,

the DFS actions against Chubb encompassed all potential NRA-related business, irrespective of

whether such transactions bore any similarity to Carry Guard.36

          During May 2017, Defendants announced Consent Orders with Lockton and Chubb that

barred all lawful insurance transactions with the NRA.37 The press release accompanying the

Lockton Consent Order makes clear that DFS intends to prohibit any insurance “agreement or

arrangement” that “involve[s] the NRA, directly or indirectly.”38 Moreover, the Chubb Consent

Order purports to forbid NRA-related transactions that occur outside New York—i.e., it prohibits

business arrangements that could not conceivably violate any regulation DFS enforces.39 During

the same period, it was announced that DFS was “investigating” Lloyd’s of London (“Lloyd’s”)

for its business arrangements with the NRA.40 Importantly, Lloyd’s has no involvement with



34
     See id. at ¶ 54.
35
     See id. at ¶ 62, 63, 117.
36
     See id. at ¶¶ 62-63.
37
     See id. at ¶¶ 54-55, 62-63.
38
     See Motion, Appendix A (Dkt. 40-2).
39
   See Compl. at ¶ 63. Unlike with respect to Chubb, the Lockton Consent Order permits Lockton
to continue administering NRA-endorsed insurance programs outside of New York.
40
  See Defendants’ Memorandum of Law In Opposition To Plaintiff’s Request For Expedited
Discovery (“Defendants’ Opposition”), at 7; Compl. at ¶ 65.

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Carry Guard, and Defendants articulate no rational basis for their pursuit of Lloyd’s insurance

transactions with the NRA.

          2.      Taken Together, Defendants’ Threatened And Actual Regulatory Reprisals
                  Constitute A Cohesive Censorship-and-Retaliation Campaign.

          The DFS enforcement actions targeting NRA affinity-insurance arrangements are not

occurring in a vacuum.41 Instead, they were calculated to coincide with other communications,

public and nonpublic, to threaten regulatory reprisals against banks and insurers which fail to

blacklist so-called “gun promotion” advocacy organizations.42

          On April 19, 2018—just before the Lockton and Chubb Consent Orders and the Lloyd’s

investigation were announced—Cuomo publicly directed DFS to “urge insurers and bankers

statewide to determine whether any relationship they may have with the NRA or similar

organizations sends the wrong message to their clients and their communities.”43 The same day,

DFS issued a pair of ominous “guidance” letters (the “April 2018 Letters”) that urged “all

insurance companies and banks doing business in New York”44 to “take prompt actions” to redress

the “risks” which “may arise from their dealings with the NRA or similar gun promotion

organizations.”45 The April 2018 Letters constitute official regulatory guidance from DFS, signed

by Superintendent Vullo and sent to thousands of institutions under DFS’s regulatory purview.46

The April 2018 Letters explicitly invoke the “risk management” authority of DFS, which allows



41
     See Compl. at ¶ 65.
42
     See id. at ¶¶ 38, 45-46, 54, 62.
43
     See Dkt. 37-1 (the “Cuomo Press Release”); Compl. at ¶ 45.
44
     See Dkt. 37-1.
45
     See Compl. at ¶ 46.
46
     See id.

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it to levy heavy fines to redress misconduct which can jeopardize the “safety, soundness, and

integrity” of New York’s financial institutions.47

          In addition to its actions against Lockton, Chubb, and Lloyd’s, and its “guidance” letters

to New York banks and insurers, DFS undertook additional communications which the Amended

Complaint identifies and the Motion ignores.48 For example, within days of the issuance of the

April 2018 Letters, Cuomo publicly tweeted: “The NRA is an extremist organization. I urge

companies in New York State to revisit any ties they have to the NRA and consider their

reputations, and responsibility to the public.”49 Defendants also issued backchannel threats to

banks and insurers who maintained, or sought, business arrangements with the NRA.50

B.        Defendants’ Campaign Is Depriving The NRA Of Key Liberty And Property
          Interests—As Well As Its Right To Free Speech.

          Although they did business with the NRA for decades, financial institutions have begun to

heed the threats from New York’s regulators.51 Lockton and Chubb consented to terminate all

affinity-insurance transactions with the NRA, including transactions which comply with relevant

laws and—in the case of Chubb—occur outside DFS’s regulatory jurisdiction. In addition, Lloyd’s

announced on May 9, 2018, that it would terminate all insurance “offered, marketed, endorsed, or

otherwise made available” to the NRA and its members in light of scrutiny by DFS.52




47
     See id. at ¶ 26.
48
     See id. at ¶¶ 38, 45-48.
49
     See id. at ¶ 51.
50
     See id. at 2.
51
     See id. at ¶¶ 54, 62, 65.
52
     See Compl., Ex. E (Dkt. 37-6); see also Compl. at ¶ 52.

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          In the wake of Defendants’ actions, other DFS-regulated financial institutions have balked

at providing services to the NRA, including basic banking53 and corporate insurance54 services

that bear no conceivable connection to Carry Guard and are essential to the NRA’s advocacy

mission.55 These institutions, such as the NRA’s Corporate Carrier, are not reacting to purported

compliance defects in any affinity insurance program, nor any other past conduct or omission by

the NRA.56 Instead, they have repeatedly expressed reluctance to maintain relationships with the

NRA or any organizations that propound political viewpoints disfavored by Defendants.57

          As detailed in the Amended Complaint, the inability to access banking and insurance

services will directly and substantially interfere with the NRA’s core political speech and

associational activities.58 Without insurance, the NRA will be unable to convene rallies, host

events, or support original media content.59 Similarly, without banking services, the NRA cannot

effectively collect or safeguard members’ donations, maintain an employee payroll, engage key

vendors and conduct business in the normal course.60 The Amended Complaint alleges substantial

harm from Defendants’ conduct to date, including the loss of key insurance coverage from the

NRA’s longtime Corporate Carrier61 and the withdrawal of several banks from an NRA request-




53
     See id. at ¶¶ 67-68.
54
     See id. at ¶¶ 65-66.
55
     See id. at ¶¶ 29, 70.
56
     See id. at ¶¶ 41, 44, 66.
57
     See id.
58
     See id. at ¶¶ 28-29.
59
     See id. at ¶ 29.
60
     See id. at ¶ 28.
61
     See id. at ¶¶ 41, 44, 66.

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for-proposal process.62 If Defendants’ campaign continues unchecked, its effects on the NRA can

reasonably be expected to escalate.

C.        Cuomo Publicly Admits The Basis Of The NRA’s Claims.63

          Cuomo continues to boast of his unconstitutional campaign to silence the NRA by

depriving it of financial resources. For example, on August 3, 2018, Cuomo gloated that the

actions of New York regulators “are working” because “[w]e’re forcing the NRA into financial

jeopardy. We won’t stop until we shut them down.”64 The very next day, he reiterated that “New

York is forcing the NRA into financial crisis.”65 Using the hashtag “#BankruptTheNRA,” Cuomo

urged others to “put the gun lobby out of business.”66 Cuomo also uploaded a video to YouTube

that bragged: “New York has the NRA on the brink.”67 Importantly, these statements do not

directly reference purported insurance infractions by the NRA. Instead, Cuomo is candid about

the purpose of Defendants’ campaign: the NRA represents “the gun lobby,” i.e., a force of political




62
     See id. at ¶¶ 67-68.
63
   The Court should take judicial notice, as ascertainable facts, of Defendants’ statements cited
herein pursuant to Rule 201 of the Federal Rules of Evidence because Defendants cannot
reasonably dispute their accuracy. See FED. R. EVID. 201(c)(2); see also Kramer v. Time Warner
Inc., 937 F.2d 767, 773 (2d Cir. 1991); Leonard F. v. Israel Discount Bank of N.Y., 199 F.3d 99,
107 (2d Cir. 1999). To be clear, the NRA does not ask the Court to take judicial notice of
Defendants’ statements for the truth of the matter asserted, but merely to acknowledge that
Defendants made the statements. See, e.g., Kramer, 937 F.2d at 774 (explaining that “courts
routinely take judicial notice of documents filed in other courts, . . . not for the truth of the matters
asserted . . ., but rather to establish the fact of such litigation and related filings”).
64
     Gase Declaration, Ex. B.
65
     Gase Declaration, Ex. A.
66
     Gase Declaration, Ex. A.
67
   YOUTUBE, Stand with us in the fight to end the NRA’s stranglehold on Americans politics. VOTE
SEPT. 13, https://www.youtube.com/watch?v=59NDp7ATfhg (last visited Aug. 15, 2018),
attached as Exhibit C to the Gase Declaration.

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opposition, and therefore must be destroyed by the coercive regulatory power of the state.

                            III. ARGUMENT AND AUTHORITIES

A.       Legal Standard.

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.”68 All facts alleged must be

taken as true, and every reasonable inference from those facts must be drawn in the non-moving

party’s favor.69 Because a motion to dismiss tests only the legal sufficiency of a plaintiff’s claims,

inquiry into their substantive merits—that is, whether the facts pleaded are actually true—is

inappropriate.70 Thus, a claim may not be dismissed where the facts pleaded, taken as true and

accompanied by every reasonable inference in plaintiff’s favor, “allow[] the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”71

B.       The NRA States Multiple First Amendment Claims With Respect to Freedom of
         Speech.

         The NRA alleges two distinct violations of the First Amendment right to free speech: (1)

establishment of a censorship scheme to suppress the NRA’s speech; and (2) retaliation against

the NRA for its advocacy on gun-control issues. None of Defendants’ arguments warrant dismissal

of these claims.72



68
  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
570 (2007)).
69
     Holmes v. Grubman, 568 F.3d 329, 335 (2d Cir. 2009).
70
   Goel v. Bunge, Ltd., 820 F.3d 554, 559 (2d Cir. 2016) (citing Global Network Commc’ns, Inc.
v. N.Y.C., 458 F.3d 150, 155 (2d Cir. 2006)).
71
 Sassi v. Dutchess Cty., 9:16-cv-1450, 2017 WL 4773320, *3 (N.D.N.Y. Oct. 20, 2017) (D.J.,
McAvoy).
72
   Insofar as the Motion discusses any particular free speech claim, it focuses on the NRA’s
implicit-censorship claim. The NRA’s response below therefore pays particular attention to that
claim. However, it is important to understand that the NRA’s retaliation claim is a separate-and-

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          1.     Defendants’ unconstitutional actions target lawful business relationships and
                 conduct.

          Defendants argue that their actions target “unlawful conduct having nothing to do

with . . . expressive activity,” and thus, their campaign to deprive so-called “gun promotion

organizations” access to financial services cannot, as a matter of law, violate the United States

Constitution.73 Defendants’ allegations of “unlawful conduct” with respect to a particular affinity

insurance program are inapposite—because Defendants’ actions indiscriminately seek to prohibit

all affinity-insurance business involving the NRA, irrespective of whether such arrangements

violate New York Law.74 Importantly, the NRA’s First Amendment claims do not challenge any

Consent Order provisions that pertain to Carry Guard, or any other program for which “unlawful

conduct” is alleged. Instead, the NRA challenges enforcement of provisions that prohibit lawful

insurance transactions and business relationships with the NRA.75

          Defendants’ “unlawful conduct” arguments also ring hollow because the Amended

Complaint alleges that DFS permits similar (and in some cases identical) conduct by other affinity




independent claim with its own legal test, see Dougherty v. Town of N. Hempstead Bd. of Zoning
Appeals, 282 F.3d 83, 91 (2d Cir. 2002), and it is well-established that the kind of tactics
Defendants have employed can constitute retaliatory conduct. Courts have held that government
officials’ statements to the press, see Blankenship v. Manchin, 471 F.3d 523, 530 (4th Cir. 2006);
Barrett v. Harrington, 130 F.3d 246, 263 (6th Cir. 1997), harassing investigations, see Lacey v.
Maricopa Cty., 693 F.3d 896, 917 (9th Cir. 2012) (en banc); White, 227 F.3d at 1238, and
regulatory action, see Royal Crown Day Care LLC v. Department of Health & Mental Hygiene of
City of New York, 746 F.3d 538, 545 (2d Cir. 2014), can all be bases for retaliation claims. Indeed,
the retaliatory conduct need not be nearly as serious as Defendants’ actions in this case to be
actionable. See Garcia v. City of Trenton, 348 F.3d 726, 729 (8th Cir. 2003) (four $35 parking
tickets); Bart v. Telford, 677 F.2d 622, 625 (7th Cir. 1982).
73
     See Motion at 17.
74
     See discussion supra at Section II.A.
75
     See Compl. at ¶¶ 54, 62.

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organizations who endorse insurance in New York.76 Indeed, the Complaint identifies insurance-

marketing communications for policies brokered by Lockton, and endorsed by organizations such

as the New York City Bar, the Professional Photographers of America and the Veterans of Foreign

Wars, which exhibit the same purported compliance issues as the NRA-endorsed policies.77

Incredibly, although they purport to identify Insurance Law violations by Lockton and Chubb, the

Lockton and Chubb Consent Orders do not prospectively prohibit the same allegedly “violative”

conduct with respect to other clients—only the NRA.

          Finally, Defendants’ accusations of “unlawful conduct” cannot justify their ominous

“guidance” and backroom threats concerning any or all “dealings with the NRA or similar gun

promotion organizations.”78 In sum, Defendants’ attempt to characterize the NRA’s claims as an

assault on their ability to regulate unlawful conduct is baseless.

          2.      Defendants’ threats constitute censorship and retaliation and cannot be
                  characterized as “government speech.”

          A First Amendment claim exists where an official’s actions “can reasonably be interpreted

as intimating . . . some form of punishment or adverse regulatory action” when viewed in light of

“the entirety of [the official’s] words and actions.”79 Although courts must occasionally “draw

fine lines between permissible expressions of personal opinion and implied threats” by government

officials,80 Defendants’ actions decisively cross such lines, and cannot be shielded as government




76
     See id. at ¶¶ 58-59.
77
     See id. at ¶ 59.
78
     See discussion supra at II.A.
79
     Zieper, 474 F.3d at 68 n.4.
80
     See Hammerhead Enters., Inc. v. Brezenoff, 707 F.2d 33, 39 (2d Cir. 1983).

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speech—especially on a motion to dismiss.81 Where, as here, that speech “threaten[s] credit card

companies or other suppliers” of financial services to a speaker, in an effort to “prevent the

dissemination of ideas or opinions thought dangerous or offensive,”82 courts routinely hold that

communications like the April 2018 Letters amount to unconstitutional coercion.83

          To avoid such an outcome, the Motion omits key language contained in Defendants’

pronouncements, 84 and urges that each communication be evaluated in a vacuum without regard

to Defendants’ contemporaneous tweets, press releases, enforcement actions, and backchannel

threats.85 However, in the Second Circuit, a court confronting claims of implicit censorship must

examine the entirety of defendants’ words and actions in determining whether they can reasonably

be interpreted as an implied threat.86 In this case, the threat of regulatory reprisal against any

institution that does business with the NRA is not merely a reasonable interpretation of



81
  See Rattner, 930 F.2d at 210 (holding that, even on a motion for summary judgment, it was error
for the district court not to regard defendant-official’s letter as implied threat).
82
     Blue Canary Corp. v. City of Milwaukee, 251 F.3d 1121, 1123 (7th Cir. 2001).
83
   See Okwedy v. Molinari, 333 F.3d 339, 340-41 (2d Cir. 2003) (“We write here only to make
clear that a public-official . . . who threatens to employ coercive state power to stifle protected
speech violates a plaintiff’s First Amendment rights even if the public-official . . . lacks direct
regulatory or decisionmaking authority over the plaintiff . . . .”); see also Rattner, 930 F.2d at 209
(determining that “a reasonable factfinder could” interpret a government official’s letter “as
intimating that some form of punishment or adverse regulatory action would follow” if plaintiff’s
advertisement continued to be published and thus violate the First Amendment).
84
  See, e.g., Motion at 22 (claiming that the April 2018 Letters “merely encouraged [businesses] to
‘consider’ their ties to the NRA” and omitting the directive that they “take prompt actions” to
redress the purported risks).
85
     See id. at 11-13.
86
   See Zieper, 474 F.3d at 66. That analysis must be conducted “in the light most favorable to
[plaintiff] as the nonmoving party.” See, e.g., Rattner, 930 F.2d at 210 (holding that “[t]he district
court’s ruling that the language of the [defendant’s] letter, either standing alone or in all the
circumstances, is not a veiled threat of boycott or reprisal does not view that language in the light
most favorable to [plaintiff] as the nonmoving party”).

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Defendants’ actions and statements as a whole—it is the only plausible interpretation.

          Defendants publicly exhorted banking and insurance institutions to cease doing business

with the NRA, not for any purported compliance or regulatory reasons, but because the NRA is a

“gun promotion organization[]” whose advocacy the Governor opposes.87           Indeed, the Motion

concedes that, far from merely offering viewpoint-neutral regulatory guidance, the April 2018

Letters and the press release “express[ed] the government’s position on the public gun control

debate.”88 In the press release issued by Defendant Cuomo’s office, the Governor warns regulated

entities that “any relationship they may have with the NRA” might “send[] the wrong message to

their clients and their communities,” and DFS extolled those entities that had “ended relationships

with the NRA” and had “realign[ed] their company’s values.”89 Defendant Vullo expressly

“urge[s] all insurance companies and banks doing business in New York to join the companies

that have already discontinued their arrangements with the NRA,”90 and the April 2018 Letters

cite recent actions by “a number of financial institutions that severed their ties with the NRA” as

“an example of” firms “fulfilling their corporate social responsibility” in the eyes of DFS.91

          Of course, looming behind Defendants’ pronouncements is the brute force of state power.92

The April 2018 Letters, Consent Orders, and accompanying press releases are directed at entities

subject to Defendants’ regulatory authority.93 One press release pointedly advises the reader that



87
     See Dkt. 37-2, 37-3.
88
     Motion at 21; see also id. at 31–32, 44.
89
     See Dkt. 37-1 (emphasis added).
90
     See Dkt. 37-1.
91
     See Dkt. 37-2, 37-3.
92
     See, e.g., Compl. at ¶¶ 21, 64, 77.
93
     See id. at 19; Dkt. 37-2; Dkt. 37-3.

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MetLife, “a major insurer regulated by DFS,” has severed ties with the NRA, and refers to Chubb

as “another DFS-regulated insurer” expected to cosign Defendants’ blacklist.94           Moreover,

Defendants’ communications repeatedly reference the regulatory “risk management” obligations

of banks and insurers, which the DFS enforces through multimillion-dollar fines.

          Defendants made clear that the guidance letters were not idle threats by announcing

Consent Orders, which fined Lockton and Chubb millions of dollars for doing business with the

NRA and prohibited lawful transactions with the NRA in the future (and in the case of Chubb,

anywhere in the world).95 Regulated entities got the message: the day after the Chubb Consent

Order was made public, Lloyd’s—an insurance underwriter of NRA endorsed affinity insurance

programs—“announced” that it was severing ties with the NRA because of the “inquiry by the

New York Department of Financial Services.”96 Obviously, a threat was perceived and its impact

became demonstrable.97

          Against these factual allegations, Defendants curiously cite Zieper v. Metzinger, wherein

the United States District Court for the Southern District of New York held that an FBI agent’s

statements failed to rise to the level of coercion because they did not explicitly mention “criminal

statutes or legal consequences.”98 However, although it affirmed the outcome in Zieper on other

grounds, the Second Circuit firmly rejected and reversed the holding cited by Defendants. Instead,



94
 See Dkt. 37-1. Accordingly, the Motion is incorrect when it asserts that “the Press Releases and
Guidance Letters” did not mention “any particular company.” Motion at 22.
95
     See Compl. at ¶ 63.
96
  Lloyd’s Underwriters Told to Stop Insurance Linked to NRA, THE NEW YORK TIMES (May
9, 2018), https://www.nytimes.com/reuters/2018/05/09/business/09reuters-lloydsof-london-
nra.html.
97
     Rattner, 930 F.2d at 210.
98
     Zieper, 474 F.3d at 66.

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it held that a rational juror could infer coercion even if the government did not expressly invoke

potential penalties:

                 we have never held that [the precise language and tone used] is the
                 only relevant factor in determining whether a public official has
                 crossed the line “between attempts to convince and attempts to
                 coerce.” . . . Instead, it is necessary to consider the entirety of the
                 defendants’ words and actions in determining whether they could
                 reasonably be interpreted as an implied threat.99

Simply put, the NRA has more than adequately alleged that Defendants’ actions, taken together

and viewed in light of surrounding circumstances, “could reasonably be interpreted as an implied

threat.”100 Indeed, Defendants’ actions were so-interpreted by institutions, including Lloyd’s.101

          3.     The NRA has amply pleaded that it engages in core political speech—which
                 Defendants seek to punish and suppress.

          The Motion asserts that the Complaint “fails to identify any specific, particularized instance

of protected speech or expressive conduct that has been directly infringed by Defendants.”102 In

an effort to construct a heightened, particularized pleading standard for First Amendment claims,




99
   Id. Defendants’ reliance on Penthouse Int’l, Ltd. v. Meese is also misplaced. 939 F.2d 1011,
1015 (D.C. Cir. 1991). Although the Penthouse court found a letter was governmental speech
where there was no “threatened imposition of governmental power,” the court distinguished
between the threats of an advisory committee with no enforcement or prosecutorial power and
threats from agents with the authority to sanction. Id. at 1014. Here, Defendants have broad
regulatory and enforcement authority against the very entities to which their speech is directed and
they imposed significant sanctions (over $8 million within three weeks) on companies doing
business with the NRA—the very activity they were warning against. This crucial difference
renders Penthouse inapplicable to this case.
100
    See e.g., Richardson v. Pratcher, 48 F. Supp. 3d 651, 670 (S.D.N.Y. 2014) (finding that
comments by a regulator about unprofessional behavior and questioning the integrity and judgment
of an employee was sufficient to “be interpreted as intimating that some form of punishment or
adverse regulatory action will follow” if the employer did not take action against the employee).
101
      See id.
102
      See Motion at 26.

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the Motion cites an assortment of cases wherein litigants failed to establish that their conduct

(wearing a skirt to work;103 participating in illegal combat sports;104 inviting minors to certain

nightclub events105) was sufficiently “expressive” to invoke the First Amendment.106 However,

no such particularized pleading is required to invoke the First Amendment’s protection for actual

speech (as opposed to conduct).

          In any event, Defendants ignore the wealth of factual support in the Complaint describing

the protected speech targeted and affected by Defendants’ conduct.107 For example, the Complaint

alleges that Defendants’ conduct has put the NRA’s involvement with NRATV at risk due to the

inability to obtain media liability coverage for the NRA108 and the April 2018 Letters indict the

NRA specifically for its political “gun promotion” advocacy.109 Defendants’ multi-pronged

censorship and retaliation campaign against the NRA will, if left unchecked, put the entire

organization at risk, along with the organization’s ability to “pursue its advocacy mission” through

letter-writing campaigns, peaceable public gatherings, and other grassroots ‘lobbying’ activities.110

This activity is precisely the type of political speech which rests at the “core of the First

Amendment.”111


103
      See Zalewska v. Cty. of Sullivan, N.Y., 316 F.3d 314, 319–20 (2d Cir. 2003).
104
  See Jones v. Schneiderman, 974 F. Supp. 2d 322, 333 (S.D.N.Y. 2013) (applying First
Amendment law to conduct—mixed martial arts).
105
      See Dallas v. Stanglin, 490 U.S. 19, 25 (1988).
106
      Motion at 23–24.
107
      See Compl. at ¶¶ 38–53, 57, 65–66, 70, 75, 78.
108
      See id. at ¶ 66.
109
      See id. at ¶¶ 15–19.
110
      See id. at ¶ 14.
111
      Brown v. Hartlage, 456 U.S. 45, 52 (1986).

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          4.     The NRA does not need to give in to Defendants’ threats in order to have a
                 viable First Amendment claim.

          Implicitly conceding that the NRA engages in protected, political speech, Defendants point

out that the NRA has continued to engage in political speech, despite Defendants’ efforts.112

However, the NRA need not accede to Defendants’ coercion in order to seek redress. Any attempt

at government censorship is actionable, even if a plaintiff continues to speak.113 As for the NRA’s

retaliation claim, the Second Circuit has held that “[c]hilled speech is not the sine qua non of a

First Amendment claim,” and that “[a] plaintiff has standing if he can show either that his speech

has been adversely affected by the government retaliation or that he has suffered some other

concrete harm.”114 “Allegations of loss of business or some other tangible injury as a result of a

defendant’s [retaliatory] statements would suffice to establish concrete harm,”115 and the NRA has

made precisely these types of allegations.116

          5.     Even if the NRA’s speech constitutes commercial speech, which it does not, the
                 Complaint sufficiently pleads claims with respect to commercial speech.

          Defendants argue that because their campaign against the NRA targets the NRA’s business

relationships with Lockton, Chubb, and Lloyds, the speech at issue is only commercial speech that




112
    See Motion at 2 (“[T]he NRA has continued to lobby against government regulations of
firearms[.]”).
113
    See, e.g., Zieper, 474 F.3d at 66 (holding that a reasonable juror could have found a First
Amendment violation even though plaintiff failed to accede to defendants’ threats);
Backpage.com, LLC, 807 F.3d at 231 (“Notice that such a threat [by a public official to employ
coercive state power] is actionable and thus can be enjoined even if it turns out to be empty—the
victim ignores it, and the threatener folds his tent.”).
114
   Mangino v. Inc. Vill. of Patchogue, 808 F.3d 951, 955–56 (2d Cir. 2015) (emphases in original);
see also Dorsett v. Cty. of Nassau, 732 F.3d 157, 160 (2d Cir. 2013).
115
      Zherka v. Amicone, 634 F.3d 642, 646 (2d Cir. 2011).
116
      See supra Section II.B.

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should receive, at most, the same level of constitutional scrutiny afforded to regulations of “the

exchange of information about securities, [ ], corporate proxy statements, [ ], [and] the exchange

of price and production information among competitors.”117 This argument lacks merit.

                 a.       The NRA’s central allegations relate to core political speech, not
                          commercial speech.

          Defendants blanket assertion that the “basis of the NRA’s claims . . . is not that the NRA

is being hampered, in any way, from engaging in political speech advocating in favor of the Second

Amendment,” but is instead commercial speech, is a willful misreading of the Amended

Complaint.118 Commercial speech is limited to expression that does no more than propose a

commercial transaction.119 Conversely, the gravamen of this lawsuit concerns efforts to suppress

the NRA’s so-called “gun promotion” advocacy—i.e., Governor Cuomo’s crusade to extinguish

disfavored political speech by “put[ting] the gun lobby out of business” in New York.120



117
      See Motion at 27.
118
      See Compl. at ¶¶ 76, 86, 122.
119
   See, e.g., United States v. United Foods, Inc., 533 U.S. 405, 409 (2001) (commercial speech
“usually defined as speech that does no more than propose a commercial transaction”) (emphasis
added); Bd. of Trustees of State Univ. of N.Y. v. Fox, 492 U.S. 469, 473-74 (1989) (describing this
as “the test”); Central Hudson Gas & Elec. Corp. v. Public Serv. Comm’n, 447 U.S. 557, 561
(1980) (commercial speech defined as “expression related solely to the economic interests of the
speaker and its audience”) (emphasis added).
120
     See, e.g., Compl. at ¶ 21 (“Together with DFS Superintendent Vullo, [Cuomo’s] longtime
lieutenant, Cuomo has embarked on a campaign to chill the political speech of the NRA . . .
by leveraging state power to punish[] financial institutions which maintain business arrangements
with the NRA[;] [t]o achieve this, Defendants draw upon the formidable regulatory powers of
DFS[.]”) (internal quotation marks and footnote omitted), ¶ 76 (“Defendants’ actions were for the
purpose of suppressing the NRA’s pro-Second Amendment viewpoint” and were “undert[aken] .
. . with the intent to obstruct, chill, deter, and retaliate against the NRA’s core political speech.”),
¶ 78 (“Defendants’ concerted efforts to stifle the NRA’s freedom of speech caused financial
institutions doing business with the NRA to end their business relationships, or explore such
action, due to fear of monetary sanctions or expensive public investigations.”), ¶ 86 (“Defendants’
actions—including but not limited to the issuance of the April 2018 Letters and the accompanying
backroom exhortations, the imposition of the Consent Orders upon Chubb and Lockton, and the

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          It is immaterial that the means employed by Defendants to silence their political opponents

involve targeting commercial relationships and resources. Where the government seeks to

“suffocate” a disfavored speaker by “depriving [it] of . . . revenues” or “scaring off its payments-

service providers,” the constitutional effect is the same as if any other censorship mechanism were

employed.121 Here, the NRA alleges that Defendants aim to suppress and punish political

advocacy that Cuomo believes should have “no place in the State of New York” by choking off

financial services that are “necessary to the survival of the NRA as a charitable organization.”122

                  b.     Even with respect to commercial speech, viewpoint-based restrictions
                         trigger heightened scrutiny.

          To the extent that Defendants’ actions also target the NRA’s commercial speech, the NRA

still sufficiently pleaded a violation of its First Amendment rights. Defendants’ restrictions on

only the NRA’s ability to enter lawful contracts for insurance and banking services, and not any

other affinity or common-cause organization,123 is a clear content-based restriction based on

political animus and serves no substantial government interest.124 While commercial speech may

generally be subject to intermediate scrutiny, “viewpoint discrimination is scrutinized closely

whether or not it occurs in the commercial speech context.”125 For example, although the



issuance of the Cuomo Press Release—were in response to and substantially caused by the NRA’s
political speech regarding the right to keep and bear arms.”).
121
      See Backpage.com, LLC, 807 F.3d at 231.
122
      See Compl. at ¶¶ 18, 52.
123
   Defendants did not restrict Lockton’s ability to enter into similar affinity insurance contracts
with other organizations, such as the New York State Bar Association, the New York City Bar,
the New York Association of Professional Land Surveyors, and the New York State Psychological
Association. See id. at ¶ 36-37.
124
      See id. at ¶ 57.
125
   Wandering Dago, Inc. v. Destito, 879 F.3d 20, 39 (2d Cir. 2018); see also Matal v. Tam, –––
U.S. –––, 137 S. Ct. 1744, 198 L. Ed. 2d 366 (2017); Reed v. Town of Gilbert, Ariz., -- U.S. --, 135

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government may limit commercial advertising to prevent fraud, the government “may not prohibit

only that commercial advertising that depicts men in a demeaning fashion” because such a

prohibition would discriminate on the basis of viewpoint.126 “Commercial speech is no exception”

to the rule that “[t]he First Amendment requires heightened scrutiny whenever the government

creates a regulation of speech because of disagreement with the message it conveys.”127 Here,

Defendants’ blatant viewpoint-based discrimination cannot withstand the most basic scrutiny—let

alone the heightened scrutiny afforded under the First Amendment.

          Moreover, even if Defendants’ discriminatory conduct was not based on the NRA’s

viewpoint, lawful and non-misleading commercial speech cannot be regulated unless the

regulation directly advances a substantial government interest and is not more extensive than

necessary to serve that interest.128 Here, Defendants cannot hope to articulate a substantial

government interest in punishing and extinguishing financial transactions that involve the NRA,

while permitting identical transactions by entities other than “gun promotion” advocacy groups.

Certainly, the vague “reputational risks” invoked in the April 2018 Letters cannot suffice—if they

did, the government would have an identical interest in excluding, from its financial markets, any




S. Ct 2218 (2015); Sorrell v. IMS Health Inc., 564 U.S. 552 (2011) (opining that a heightened
standard applies to content-based restrictions on commercial speech such that government must
show that the restriction “directly advances a substantial governmental interest and that the
measure is drawn to achieve that interest”); In re Tam, 808 F.3d 1321, 1338-39 (Fed. Cir. 2015)
(“Commercial speech is no exception to the need for heightened scrutiny of content-based
impositions seeking to curtail the communication of particular information or messages.”) (internal
citation and punctuation omitted).
126
      R.A.V., 505 U.S. at 389.
127
    Sorrell, 564 U.S. at 566 (internal quotation marks omitted) (observing that “it is all but
dispositive to conclude that a law is content-based and, in practice, viewpoint-discriminatory . . . .
whether a special commercial speech inquiry or a stricter form of judicial scrutiny is applied”).
128
      Central Hudson Gas & Elec. Corp., 447 U.S. at 566.

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person or entity holding unpopular views. Such discrimination is “anathema to free expression,”129

and impermissible under the United States Constitution.

C.        The NRA Has Standing To Allege An Equal Protection Claim.

          Defendants do not seriously contest the NRA’s Equal Protection claim on the merits;130

instead, Defendants’ erroneously contend that the NRA lacks standing to bring an equal protection

claim because it is only asserting a violation on behalf of Chubb and Lockton and no formal

enforcement action has been taken against the NRA.131 This is a blatant misinterpretation of the

NRA’s claim, a clear misstatement of the law, and contradicts the very case Defendants rely on in

their Motion.132      The Complaint is replete with allegations that Defendants are selectively

enforcing the Insurance Law “against the NRA and its business partners,”133 which is causing direct

personal injuries to the NRA.134 By prohibiting Lockton and Chubb from engaging in lawful

insurance business with the NRA, Defendants have selectively enforced the State’s insurance laws

against the NRA, not just against Lockton and Chubb.

          The fact that the NRA was not a party to the Consent Orders is of no moment; the NRA’s




129
  Pittsburgh League of Young Voters Educ. Fund, 653 F.3d at 296; R.A.V., 505 U.S. at 382; Perry
Educ. Ass’n, 460 U.S. at 46.
130
   Indeed, contesting the NRA’s claim on the merits is virtually impossible given the substantial
evidence that Defendants selectively enforced certain provisions of the Insurance Law to target
transactions involving the NRA—while permitting the same transactions by affinity organizations
whom Cuomo has not labelled “the enemy.”
131
      See Motion at 39.
132
   See Casciani v. Nesbitt, 659 F. Supp. 2d 427, 449-450 (W.D.N.Y. 2009) (holding that “a claim
of selective enforcement requires actual, or at least threatened, enforcement, or some sort of
selective “treatment” of the plaintiff”) (emphasis added).
133
      See Compl. at ¶¶ 42–44, 109–110.
134
      See id. at ¶¶ 35, 57, 60, 69, 80, 108, 111.

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equal-protection injury remains the same. It is well-established, for instance, that a woman

challenging an abortion regulation on equal-protection grounds has standing to pursue that claim

even though the regulation would only be enforced against her physician.135 Other cases similarly

recognize that a plaintiff has standing to challenge laws enforced against another party where the

plaintiff is injured by such enforcement.136 And in the particular context of this case, standing can

exist for non-parties to a consent order that are affected by the provisions in the consent order.137

Defendants’ contrary view—that only Lockton and Chubb can bring an equal-protection claim—

would have dangerous implications.          By this logic, the state could enact onerous building

regulations, then make it known that such regulations will be enforced only against landlords that

rent space to the NAACP or Black Lives Matter. Or, the state could begin charging a sales tax for

internet purchases, but only enforce the tax against merchants who stock books by a dissident

author.138 The Court should not indulge this end-run around equal protection.

          Furthermore, with respect to a selective enforcement equal protection claim, no formal

enforcement action against a plaintiff is required; instead, the NRA need only plead “some sort of

selective ‘treatment,’” or the mere threat of enforcement.139 Defendants readily admit that the


135
      See Doe v. Bolton, 410 U.S. 179, 187–89 (1973).
136
   See, e.g., H.L. v. Matheson, 450 U.S. 398, 400–01, 405–07 (1981); Virginia State Bd. of Pharm.
v. Virginia Citizens Consumer Council, Inc., 425 U.S. 748, 753, 757 (1976); see also NRA v. ATF,
700 F.3d 185, 191–92 (5th Cir. 2012); Dearth v. Holder, 641 F.3d 499, 502 (D.C. Cir. 2011).
137
    See Safelite Grp., Inc. v. Rothman, 229 F. Supp. 3d 859, 875 (D. Minn. 2017) (rejecting
defendants’ standing argument where defendants entered into consent orders with plaintiff’s
insurer-clients, but not plaintiff, that required the insurer to drop plaintiff as its claim administrator;
defendants “efforts to avoid ‘the elephant in the room’ by going after [plaintiff’s] insurer-clients
‘one by one’ do not deprive [plaintiff] of standing”).
138
   Of course, the foregoing examples would also raise First Amendment and Due Process issues—
just like Defendants’ conduct here.
139
   See Casciani, 659 F. Supp. 2d at 449-450; see also MedImmune, Inc. v. Genentech, Inc., 549
U.S. 118, 128–129 (2007) (“[W]here threatened action by government is concerned, we do not

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NRA itself is under investigation, for transactions in respect of which the DFS has already imposed

nearly ten million dollars in fines.140 Even relying on the authority cited by Defendants, the

investigation is a sufficient threat of selective enforcement of the Insurance Law to meet the

standing requirements for Equal Protection.141

          To establish standing, the NRA must demonstrate: (1) a concrete and particularized “injury

in fact,” (2) which is fairly traceable to Defendants’ conduct and (3) likely to “be redressed by a

favorable decision”142 The Complaint alleges facts sufficient to demonstrate each of these

elements: (1) the NRA suffered a concrete injury by, among other things, losing royalty amounts

owed to it under its contract with Lockton and experiencing increased costs associated with the

potential development of new NRA-endorsed insurance programs not through Lockton, Chubb, or

Lloyd’s;143 (2) the NRA’s injury would not have occurred but for Defendants’ selective

enforcement of certain Insurance Laws against the NRA’s affinity insurance program and, through

the Lockton Consent Order, termination of those programs and the NRA’s business relationship

with Lockton;144 (3) the relief requested by the NRA—to enjoin Defendants from requiring that

Lockton or Chubb forbear from doing business with the NRA that is permissible with other affinity




require a plaintiff to expose himself to liability before bringing suit to challenge the basis for the
threat.”).
140
    See Motion at 38, n.16 (“While the NRA is under investigation for its unlicensed insurance
activities and other violations of the Insurance Law, that investigation is ongoing and has not, to
date, resulted in any enforcement action against the NRA.”).
141
      See Motion at 39 (citing to Casciani, 659 F. Supp. 2d at 449-450).
142
    Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992) (internal quotation marks,
alterations, and citations omitted).
143
      See Compl. at ¶ 111.
144
      See Compl. at ¶¶ 108-111.

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organizations—would redress the NRA’s equal-protection injuries by allowing it to continue its

programs with Lockton and Chubb.145 Accordingly, the NRA has standing to assert an equal-

protection claim.

D.        The NRA Alleges Multiple, Substantial Due Process Violations.

          The NRA adequately pleads two distinct claims under the Due Process Clause of the

Fourteenth Amendment. First, Defendants violated the Due Process Clause by stigmatizing the

NRA in the course of instructing financial institutions to cease doing business with the NRA.

Second, Defendants violated the NRA’s due process rights when they coerced Lockton and Chubb

to end their relationships with the NRA without affording the NRA any procedural protections.

The public statements made by Defendants regarding the NRA and the Consent Orders leave no

serious doubt that the NRA will prevail on both of these challenges.

          1.     Defendants have damaged the NRA’s good name and reputation in violation
                 of the Due Process Clause.

          A loss of reputation gives rise to a constitutional claim “if that loss is coupled with the

deprivation of a more tangible interest.”146 To prevail on such a “stigma-plus” claim, a plaintiff

must show “(1) the utterance of a statement sufficiently derogatory to injure his or her reputation,

that is capable of being proved false, and that he or she claims is false, and (2) a material state-

imposed burden or state-imposed alteration of the plaintiff’s status or rights.”147          “[S]uch

governmental action cannot be undertaken unless the individual is afforded an opportunity to be



145
      See Compl. at ¶ 113.
146
   Patterson v. City of Utica, 370 F.3d 322, 330 (2d Cir. 2004) (holding that proof of a “loss of []
reputation . . . coupled with the deprivation of a more tangible interest” establishes a “liberty
interest” protected by the Due Process Clause) (citing Bd. of Regents v. Roth, 408 U.S. 564 (1972)).
147
   Vega v. Lantz, 596 F.3d 77, 81 (2d Cir. 2010) (internal punctuation omitted); Sadallah v. City
of Utica, 383 F.3d 34, 38 (2d Cir. 2004).

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heard and to clear his name.”148

          A statement is sufficiently derogatory, and thus satisfies the first prong of the stigma-plus

inquiry, where it impugns “a person’s good name, reputation, honor or integrity.”149 Here,

Defendants publicly branded the NRA a “reputational risk” to the safety and soundness of financial

institutions, warned those financial institutions that having the NRA as a customer may send the

“wrong message to their clients and their communities,” insinuated that having “ties” to the NRA

“jeopardize[s] public safety,” stated that the NRA has “caused carnage in this nation,” and urged

them to drop the NRA in order to “promote public health and safety.”150                 These public

pronouncements have “call[ed] into question” the NRA’s “‘good name, reputation, honor, or

integrity.’”151 They are, moreover, both false and capable of being shown to be false.152

          Over the course of decades, sophisticated financial institutions weighed available

information (including their awareness of the longstanding, sometimes-polarized debate over gun

control), and decided for themselves that no “reputation risk,” let alone any safety or health risk,




148
   Quinn v. Syracuse Model Neighborhood Corp., 613 F.2d 438, 446 (2d Cir. 1980) (internal
quotations and citations omitted).
149
      Wisconsin v. Constantineau, 400 U.S. 433, 437 (1971).
150
    See Dkt. 37-1; Compl. at ¶ 45; TRANSCRIPT: GOVERNOR CUOMO ADDRESSES NRA
LAWSUIT AND CONDEMNS THE ORGANIZATION’S ILLEGAL BUSINESS PRACTICES
WHILE GUEST ON CNN, N.Y. STATE GOVERNOR ANDREW M. CUOMO (Aug. 6, 2018),
https://www.governor.ny.gov/news/transcript-governor-cuomo-addresses-nra-lawsuit-and-
condemns-organizations-illegal-business-0, attached as Exhibit D to the Gase Declaration.
151
    Valmonte v. Bane, 18 F.3d 992, 1000 (2d Cir. 1994) (quoting Roth, 408 U.S. at 573) (quoting
Constantineau, 400 U.S. at 437)); see also Patterson, 370 F.3d at 330 (noting that statements
which sully a plaintiff's “good name, reputation, honor, or integrity” satisfy the first element of the
stigma-plus inquiry); Quinn, 615 F.2d at n.4 (holding that an allegation of illegal conduct could
give rise to a Due Process claim).
152
   For example, Defendants’ statements indicating that the NRA is causing the deaths from public
shootings is demonstrably false.

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precluded business relationships with gun-rights advocates. This did not change—not in the

aftermath of tragedies such as Sandy Hook, nor in the face of related private-sector boycott

efforts—until Defendants commenced their coercive campaign. This is more than sufficient to

satisfy the “stigma” prong of the stigma-plus doctrine.

          The second, “plus” prong of the stigma-plus doctrine, i.e. a “material state-imposed burden

or state-imposed alteration of the plaintiff’s status or rights,” requires that the stigmatized plaintiff

be “deprived . . . of a right previously held under state law”153 or imposes additional burdens on

those who might contract with the stigmatized plaintiff.154 Here, too, the NRA has adequately

plead its claim. It is well-settled that, for example, the deprivation of access to banking services

satisfies stigma-plus,155 and contrary to Defendants’ assertions, several financial institutions have

refused to do business with the NRA in light of Defendants’ actions.156 Likewise, other attempts

by state actors to impose “badge[s] of infamy” hindering otherwise-lawful transactions—even with

the clear goal of advancing public health and safety—have been invalidated by the Supreme Court

under the stigma-plus doctrine.157        Furthermore, Defendants’ defamatory statements were

accompanied by a series of material changes in the NRA’s status and rights with respect to the



153
  Paul v. Davis, 424 U.S. 693, 708 (1976); Greenwood v. N.Y., Office of Mental Health, 163 F.3d
119, 124 (2d Cir. 1998).
154
  Valmonte, 18 F.3d at 1001 (finding a plus element where a plaintiff’s inclusion on a registry
would require potential employers to incur additional burdens in order to hire her).
155
    See Nat’l Council of Resistance of Iran v. Dep’t of State, 251 F.3d 192, 204 (D.C. Cir. 2001);
see also Comty. Fin’l Servs. Ass’n of Am., Ltd. v. Fed. Deposit Ins. Corp., 132 F. Supp. 3d 98, 124
(D.D.C. 2014) (“The loss of a bank account as a result of stigma is sufficient to implicate a right
to due process.”).
156
      See Compl. at ¶¶ 67-68.
157
   See, e.g., Constantineau, 400 U.S. at 437 (striking down statute that enabled cities to post lists
of individuals known to be excessive drinkers, which prevented the individuals from purchasing
alcohol).

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benefits of its contractually bargained-for rights, which is foreclosing its participation in a

substantial portion of the New York insurance market (and elsewhere). Accordingly, Defendants

have imposed a material change in the NRA’s status sufficient to satisfy the second element of the

stigma-plus analysis.

          2.     Defendants’ coercive tactics deprived the NRA of essential services without
                 affording the NRA any procedural protections.

          Defendants violated the NRA’s due process rights by coercing financial institutions into

withholding essential services for reasons that are arbitrary and capricious,158 and without

affording any process to the NRA.159

          First, Defendants’ argument that the NRA failed to identify any tangible right protected by

the Due Process Clause should be rejected because the NRA alleged that it has a “property interest

in its agreements with these financial institutions, as well as a liberty interest in its good name,

reputation, honor, integrity, and its ability to endorse insurance products to its membership.”160

Both valid current contracts and goodwill are the exact type of property interests that courts

routinely recognize qualify for protection under the Due Process Clause.161



158
    In order to allege a violation of its substantive due process rights, the NRA must allege: (1) a
constitutionally-protected interest in liberty or in property; and (2) that defendant’s conduct
deprived it of that interest in a manner that was “arbitrary in the constitutional sense.” Lowrance
v. Achtyl, 20 F.3d 529, 537 (2d Cir. 1994).
159
   In order to state a claim for relief under the procedural protections of the Due Process Clause,
the NRA must demonstrate that it has been deprived of a property or liberty interest and that it
suffered that deprivation without adequate opportunity to be heard. See O’Connor v. Pierson, 426
F.3d 187, 197 (2d Cir. 2005).
160
      See Compl. at ¶ 125.
161
    See Lynch v. United States, 292 U.S. 571, 579 (1934) (holding that valid contracts, and the
rights they guarantee, “are property, whether the obligor be a private individual, a municipality, a
state, or the United States”); Branum v. Clark, 927 F.3d 698, 705 (2d Cir. 1991) (recognizing that
an implied covenant of good faith “provides the basis for a property interest that would be entitled
to constitutional protection”); Ezekwo v. N.Y.C. Health & Hospitals Corp., 940 F.2d 775, 783 (2d

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          Second, the NRA adequately alleges that Defendants’ actions “shock[] the conscience.”162

Whether actions shock the conscience “depends on [Defendants’] state of mind and the context in

which [their] actions [were] taken.”163 However, a lesser showing of scienter is permitted where

the circumstances giving rise to government action permit reflection and deliberation.164 For

example, where government actors have “time to make unhurried judgments, upon the chance for

repeated reflection, largely uncomplicated by the pulls of competing obligations,”165 deliberate166

“indifference [to the liberties and rights of a plaintiff] is truly shocking” and thus gives rise to a

constitutional violation.167




Cir. 1991) (recognizing a resident’s expectation, based on a verbal promise, that she would be
made chief resident as a property interest cognizable under the Due Process Clause); Coll. Sav.
Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 675 (1999).
162
      O’Connor, 426 F.3d at 203.
163
   O’Connor, 426 F.3d at 203. Contrary to Defendants’ argument, neither the Second Circuit nor
the Supreme Court have ever limited conscience-shocking conduct solely to that which is
“malicious and sadistic . . . [and that is] intended to oppress or cause injury and designed for no
legitimate government interest.” Motion at 35. While such conduct “unquestionably” violates the
Fourteenth Amendment, the Second Circuit has recognized that a defendant’s conduct may shock
the conscience even where it does not have the purpose of depriving a plaintiff of a protected
interest. Johnson v. Newburgh Enlarged School Dist., 239 F.3d 246, 252 (2d Cir. 2001).
164
   See County of Sacramento v. Lewis, 523 U.S. 833, 849-851 (1998) (“recogniz[ing] that some
official acts” demonstrating less than intentional conduct may still shock the conscience, the Court
explained that the level of culpability required depends, in part, upon whether the circumstances
in which the conduct occurred permitted “actual deliberation”).
165
      County of Sacramento, 523 U.S. at 853.
166
    United States v. Stein, 495 F. Supp. 2d 390, 414 (S.D.N.Y. 2007) (quoting County of
Sacramento); see also Pena v. DePrisco, 432 F.3d 98, 113 (holding that an allegation of “deliberate
indifference” could overcome a motion to dismiss where defendants had “ample opportunity” to
“decide what to do”). Even under the most defendant-friendly standard, a showing that a
government actor acted out of spite or with an intent to do harm is sufficient to trigger a violation
of the Due Process Clause. O’Connor, 426 F.3d at 203.
167
      County of Sacramento, 523 U.S. at 853.

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           Here, Defendants had ample opportunity to devise methods of achieving their aims that

were less restrictive of the NRA’s rights; thus, the requisite scienter is “deliberate indifference” to

the rights of the plaintiff. The NRA has pleaded facts sufficient to establish deliberate indifference

(as well as a deliberate and intentional deprivation of the NRA’s rights), including that Defendants

made a series of statements that were explicit in demonstrating their contempt for the NRA, their

desire to compromise the NRA’s political advocacy, and their willingness to pressure all

businesses in the State of New York to cease doing business with the NRA.168 Defendants’

knowledge of the NRA’s interests, coupled with their clear intent to deprive the NRA of those

interests, meets even the highest standards of scienter. Accordingly, Defendants’ misuse of their

supervisory authority over financial institutions to punish political advocacy by NRA—the

institutions’ customer—is not only arbitrary and irrational, but also plainly unlawful, such that it

shocks the conscience.

          Finally, the Due Process Clause protects against the government’s use of its power to

coerce regulated institutions into injuring disfavored customers by requiring that due process be

afforded to such customers before the State destroys those business relationships. Where a state

actor forces or induces a person’s business associates to cut ties with a plaintiff, the Due Process

Clause requires her to be afford an opportunity to be heard.169 Having repeatedly reaffirmed “that

some form of hearing is required before an individual is finally deprived of a property interest,”

the Supreme Court has emphasized that the right to be heard must be meaningful in both time and




168
      See Compl. at ¶¶ 38, 46-51.
169
    Goldberg v. Kelly, 397 U.S. 254, 265 (1970) (“The fundamental requisite of due process of law
is the opportunity to be heard.”) (internal quotations omitted).

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manner.170 Any “deprivation of life, liberty, or property [must] be preceded by notice and

opportunity” to be heard; otherwise, that deprivation occurs “without due process of law.”171 That

is especially so where, as here, Defendants have not opted to pursue only “the procedures dictated

by state law,” but instead opted to pursue a campaign of extralegal intimidation designed to cause

New York businesses to sever ties with the NRA.172

          Indeed, a similar scheme by Defendants’ predecessors was enjoined on this basis over three

decades ago. The court held that New York’s Department of Insurance, the predecessor to DFS,

violated the due process rights of a business by blocking insurance “brokers from selling [its]

memberships through intimidation and harassment rather than the procedures dictated by state

law.”173 The court reasoned that coercing insurance companies to stop selling memberships in

plaintiff’s business violated plaintiff’s due process rights to challenge that decision:

          A threat by the Department to revoke brokers’ licenses, either for failure to stop
          selling AMC memberships or for failure to settle claims under AMC memberships,
          constitutes a “restraint” on brokers’ sales of AMC memberships and grounds for
          granting a preliminary injunction. The threat of punishment if a broker continues to
          sell memberships is analogous to the order to cease selling memberships in
          American Automobile. The threat of revocation of a license, without which an
          insurance broker cannot do business, is a powerful restraint on the sale of
          memberships.174
The court issued a preliminary injunction prohibiting the Department from interfering with brokers

who sold memberships in plaintiff’s program, before a state court proceeding decided the legality




170
      Mathews v. Eldridge, 424 U.S. 319, 333 (1976).
171
      O’Connor, 426, F.3d at 197.
172
      Am. Motor Club, Inc. v. Corcoran, 644 F. Supp. 862, 866 (S.D.N.Y. 1986).
173
      Am. Motor Club, Inc., 644 F. Supp. at 866.
174
      Id. (citing Bantam Books, Inc., 372 U.S. at 67).

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of that relationship.175 As in Am. Motor Clubs, so too here: Defendants have sought to regulate

the New York insurance market through coercion, rather than through a legal process in which the

NRA may participate. By restraining Lockton and Chubb from selling NRA affinity products, and

by coercing all other banks and insurers subject to their regulatory dictates to cease doing business

with the NRA, Defendants have violated the NRA’s due process rights.

E.        The Complaint More Than Sufficiently Pleaded A Conspiracy Claim.

          The NRA’s Complaint pleads facts well beyond what is required to state a Section 1983

conspiracy claim.176       The Complaint sets forth numerous factual allegations—supported by

evidence—which demonstrate that Cuomo and Vullo reached an agreement to deprive the NRA

of its rights under the Constitution and took overt acts to achieve that goal.177 Defendants’ reliance

on Ciambriello v. City of Nassau is misplaced because the NRA’s factual allegations provide a

stark contrast to the conclusory allegations in Ciambriello that did not provide any details of time

and place or specify “the factual basis necessary to enable defendants intelligently to prepare their

defense.”178        Here, the NRA’s Amended Complaint extensively details the “who,” “what,”

“where,” and “how” comprising Defendants’ conspiracy.179 For example, the Complaint alleges

that “Cuomo directed Vullo to issue statements . . . to cause [financial institutions] to sever existing




175
      Id. at 867.
176
    As discussed supra, Defendants violated the NRA’s constitutional rights, and therefore their
first argument that a constitutional deprivation did not occur should be rejected.
177
      See, e.g., Compl. at ¶¶ 34-35, 46, 50-51, 54, 62.
178
   Ciambriello v. City of Nassau, 292 F.3d 307, 325 (2d Cir. 2002) (internal quotation marks and
brackets omitted).
179
      See Compl. at ¶¶ 34-35, 46, 50-51, 54, 62.

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relationships with the NRA. Vullo agreed and subsequently released the April 2018 Letters.”180

The Complaint further alleges that Vullo, in order to “carry out her agreement with Cuomo,”

signed the Lockton and Chubb Consent Orders several weeks after releasing the April 2018

Letters.181

          Where, as here, a plaintiff has alleged both the existence of an agreement between two

actors and an overt act in furtherance of depriving plaintiff of a constitutional right, the Court must

deny a motion to dismiss a conspiracy claim.182 The NRA has sufficiently alleged both elements

and, therefore, the Court must deny Defendants’ Motion.

F.        The NRA Adequately Alleges Tortious Interference With Prospective Economic
          Advantage.

          Defendants’ arguments supporting dismissal of the NRA’s tortious interference with

prospective economic advantage claim lack merit and should be rejected.183 To sustain a claim for

tortious interference with prospective economic advantage, the NRA must prove that: “(1) the

plaintiff had business relations with a third party; (2) the defendant interfered with those business

relations; (3) the defendant acted for a wrongful purpose or used dishonest, unfair, or improper




180
      Compl. at ¶ 116.
181
      See Compl. at ¶ 117.
182
   See Douglas v. N.Y. State Adirondack Park Agency, 895 F. Supp. 2d 321, 371 (N.D.N.Y. 2012);
Telian v. Town of Delhi, No. 3:14-cv-945, 2015 WL 2249975, at *7 (N.D.N.Y. May 13, 2015)
(D.J., McAvoy).
183
    Defendants’ first argument assumes that none of the NRA’s other well-pleaded claims
withstand dismissal. In particular, Defendants contend that the Court should decline to exercise
supplemental jurisdiction, disallowing the NRA to pursue its lone claim under state law in this
cause. However, as discussed supra, the NRA more than sufficiently pleaded constitutional
violations and conspiracy under Section 1983; therefore, this argument need not be addressed by
the Court.

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means;184 and (4) the defendant’s acts injured the relationship.”185 Defendants do not (nor can

they) contest that the NRA had business relations with Lockton, Defendants intentionally

interfered with those relations, and the NRA sustained injuries. Instead, Defendants only challenge

the third element of the NRA’s claim—asserting that although they intentionally interfered with

the NRA’s business relationship, they did not employ “wrongful means.” Their arguments lack

merit and should be rejected, especially at the motion-to-dismiss stage.

          1.     Defendants acted for a wrongful purpose, with malicious intent, and used
                 dishonest, unfair, and improper means when intentionally interfering with the
                 NRA’s business relationship with Lockton.

          The NRA alleges that Cuomo and Vullo acted with a wrongful purpose or using dishonest,

unfair, or improper means when they coerced Lockton to terminate its business relationship with

the NRA.186 In response, the Motion essentially insists that any adverse action taken by a law

enforcement official in the presence of “admitted violations of law” (here, admissions coerced

from Lockton as part of its Consent Order) is per se proper, thus inactionable as tortious

interference.187 Defendants provide no support for this premise, nor any reason for the Court to

foreclose factual inquiry into the propriety of Defendants’ motives at this preliminary stage.

          First, the “wrongful purpose” or “improper means” standard for tortious interference is not




184
    Courts have held that “wrongful means” may include “physical violence, fraud or
misrepresentation, civil suits and criminal prosecutions, and some degrees of economic pressure.”
TPP Acquisition, Inc. v CPI Corp., 2012 N.Y. Misc. LEXIS 6458, at *11-12 (N.Y. Sup. Ct. Feb.
2, 2012) (quoting Carvel Corp. v. Noonan, 3 N.Y.3d 182, 191 (2004), quoting Guard-Life Corp.
v. Parker Hardware Mfg. Corp., 50 N.Y.2d 183, 191 (1980), citing Restatement (Second) of Torts
§ 768, Comment e; § 767, Comment c)).
185
    Reed Const. Data Inc. v. McGraw-Hill Cos., Inc., 49 F. Supp. 3d 385, 427 (S.D.N.Y. 2014)
(internal quotation marks omitted).
186
      See Compl. at ¶ 136 (emphasis added).
187
      See Motion at 47-48.

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an objective standard, but instead explores a defendant’s subjective intentions and goals.188 In

other words, even if Defendants’ actions, on their face, could conceivably have been supported by

proper motives, the correct question for the Court is whether Defendants actually acted with bad

faith.189 Here, the NRA alleges—and Cuomo’s public boasts in response to this lawsuit confirm—

that Defendants have not sought in earnest to redress violations of insurance laws, but rather to

“put the gun lobby out of business” in New York.190 The allegations must be taken as true and

every reasonable inference drawn in the NRA’s favor.191 Accordingly, the Court should deny

Defendants’ argument that their true purpose for requiring Lockton to no longer participate in

lawful insurance programs with the NRA was to “correct admitted violations of law.”

          Second, no legitimate law enforcement purpose could have motivated Defendants’ ban on

participating in any affinity-type insurance program with the NRA involving all lines of insurance,

including life, health, property, pet, and travel insurance.192 In focusing their argument on

Lockton’s purportedly illegal conduct, Defendants sidestep the real issue: in their desire to remove




188
   See Scutti Enterprises, LLC. v. Park Place Entertainment Corp., 322 F. 3d 211, 216-217 (2d
Cir. 2003) (denying motion to dismiss and examining defendant’s objective and purpose behind
actions).
189
   See, e.g., Friedman v. Coldwater Creek, Inc., 551 F. Supp. 2d 164, 171 (S.D.N.Y. 2008)
(examining the “legitimacy of [Defendant’s] stated motive” to determine whether she acted with
wrongful means).
190
    See Gase Declaration, Ex. A; see also Gase Declaration, Ex. D; GOVERNOR CUOMO
EXPOSES NRA’S HYPOCRISY, N.Y. STATE GOVERNOR ANDREW M. CUOMO (Aug. 9, 2018),
https://www.governor.ny.gov/news/governor-cuomo-exposes-nras-hypocrisy, attached as Exhibit
E to the Gase Declaration.
191
      Sassi, 2017 WL 4773320, at *3.
192
   See Compl. at ¶ 32 (“The NRA-endorsed affinity insurance administered by Lockton consist
primarily of life, health, property, and casualty policies.”).

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the NRA from New York, they overstepped their authority.193

          Defendants’ true motive is even more clear when examining their reaction to Lockton

engaging in the very same conduct with other membership organizations. As the Complaint

details, the very same allegedly “unlawful” conduct described in the Lockton Consent Order

continues unabated where the NRA is not involved,194 yet the NRA is the only organization singled

out in the Consent Order and the only organization subject to a lifetime ban on conducting affinity

business with Lockton in New York.195 Defendants’ unprincipled pattern of enforcement is no

accident; rather, it is the product of a malicious purpose, of an antipathy towards the NRA so

powerful that no means are too arbitrary, nor any argument too illogical, for Defendants.196

          Furthermore, preventing lawful business activity in no way comports with an effort to

remedy unlawful conduct—Defendants would always have the authority to enforce the Insurance

Law if it is violated by Lockton in the future.197 The Court must not allow Defendants to hide

behind their professed law enforcement purpose when their conduct, which denies the NRA the

ability to conduct lawful business, bears no relation to that purpose and is designed specifically to

harm the NRA.

          2.     Cuomo and Vullo are not entitled to either qualified or absolute immunity.

          Failing to meaningfully argue tortious interference on the merits, Defendants mistakenly

claim that Cuomo and Vullo are immune from liability. However, Defendants enjoy neither



193
      See Gase Declaration, Ex. A; see also Gase Declaration, Exs. D and E.
194
      See Compl. at ¶¶ 58–59.
195
      See Compl. at ¶¶ 58–59.
196
      See Compl. at ¶¶ 54–64.
197
   See, e.g., N.Y. Ins. Law §§ 109(c)(1), 109(d), 1104(a), 2110(a)(1); N.Y. Fin. Serv. Law §§
301(c), 309, 408.

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qualified nor absolute immunity for the conduct alleged in the Complaint.

               a.      Cuomo’s and Vullo’s actions preclude them from taking advantage of
                       qualified immunity.

       Defendants contention that Cuomo and Vullo are entitled to qualified immunity is without

merit for at least two reasons: (1) the application of qualified immunity in these circumstances is

a highly factual inquiry inappropriate at the motion to dismiss stage;198 and (2) where, as here, the

NRA claims that Cuomo and Vullo violated clearly established law, their conduct was undertaken

in bad faith and without a reasonable basis.199

       First, qualified immunity rarely supports a motion to dismiss pursuant to Rule 12(b)(6) and

should not do so here.200 Given the secretive nature of Defendants’ attacks on the NRA, dismissal

on grounds of qualified immunity would be particularly inappropriate. Understanding the nature

of Defendants’ decision-making, and the circumstances and motivation giving rise to it, requires

detailed factual analysis that cannot be definitively ascertained at this stage.201 The Supreme Court




198
    See Jones v. Parmley, 465 F.3d 46, 63-64 (2d Cir. 2006) (finding that, even at the summary
judgment stage, factual issues precluded a determination on qualified immunity under New York
state law); see also Hayes v. City of Amsterdam, 770 N.Y.S.2d 138, 140-41 (N.Y. App. Div. 2003)
(reversing summary judgment dismissal of plaintiff’s negligence action on the basis of qualified
immunity “[i]n light of [a] factual dispute”).
199
    See Tessler v. Paterson, 768 F. Supp. 2d 661, 672 (S.D.N.Y. 2011) (“‘New York law . . .
grant[s] government officials qualified immunity on state-law claims except where the officials’
actions are undertaken in bad faith or without a reasonable basis.’”) (quoting Parmley, 465 F.3d at
63 (alterations in original)); Blouin ex rel. Estate of Pouliot v. Spitzer, 356 F.3d 348, 364 (2d Cir.
2004).
200
   See Parmley, 465 F.3d at 63-64 (refusing to grant summary judgment on qualified immunity
grounds because of factual disputes); Hayes, 770 N.Y.S.2d at 140-41 (same); Munoz v. City of
N.Y., No. 04 Civ. 1105(JGK), 2008 WL 464236, at *7 n.6 (S.D.N.Y. Feb. 20, 2008) (same).
201
   See Munoz, 2008 WL 464236, at *7 n.6 (“Clearly, without a factual resolution of the sharply
conflicting versions of these events, it is not possible to determine whether defendants are
qualifiedly immune.”) (internal quotation marks omitted).

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has cautioned that “[t]he fate of an official with qualified immunity depends upon the

circumstances and motivations of his actions, as established by the evidence at trial.”202 It would

be error for the Court to dismiss the NRA’s tortious interference claim on the grounds of qualified

immunity because such a claim is highly fact specific.203

          Second, under New York law, a defendant may not use qualified immunity as a defense

when it acts in bad faith or without a reasonable basis.204 Accordingly, Cuomo and Vullo can be

held liable for tortious interference if they “lacked a reasonable basis for their decision . . . or

violated constitutional or statutory rights of which reasonable persons would be aware.”205 As

discussed above, Defendants’ decision to prohibit Lockton’s participation in lawful affinity

programs with the NRA has no reasonable basis and violates both the United States and New York

Constitutions.206 Accordingly, Defendants acted in bad faith and without a reasonable basis,207



202
      Imbler v. Pachtman, 424 U.S. 409, 419 n.13 (1976) (emphasis added).
203
    See Bernstein v. City of N.Y., No. 06 Civ. 895 (RMB), 2007 WL 1573910, at *9 (S.D.N.Y. May
24, 2007) (“Because the qualified immunity defense necessarily involves a fact-specific inquiry,
‘[i]t is generally premature to address the defense of qualified immunity in a motion to dismiss
pursuant to [Rule] 12(b)(6).’”) (quoting Walker v. Mendoza, No. 00 Civ. 93, 2000 WL 915070, at
*7 (E.D.N.Y. June 27, 2000) (alterations in original)).
204
   See Tessler, 768 F. Supp. 2d at 672; Parmley, 465 F.3d at 63; Blouin ex rel. Estate of Pouliot,
356 F.3d at 364 (“The New York courts recognize the defense of qualified immunity to shield the
government official from liability unless that action is taken in bad faith or without a reasonable
basis.”).
205
   See Mickens v. State, 881 N.Y.S.2d 854, 864 (N.Y. Ct. Cl. 2009) (citing Haddock v. City of
N.Y., 75 N.Y.2d 478 (N.Y. 1990); Alex LL. v. Dep’t of Soc. Servs. of Albany Cnty., 872 N.Y.S.2d
569 (N.Y. App. Div. 2009); Schittino v. State of N.Y., 692 N.Y.S.2d 760 (N.Y. App. Div. 1999)).
206
   See supra section III.B.1. Defendants acknowledge that any violation of the United States
Constitutional also qualifies as a violation of the New York Constitution. See Motion at 17 n.8,
32 n.14, 37 n.15, 41 n.18.
207
   See Compl. at ¶¶ 109 (pleading that Defendants actions were “undertaken in bad faith and
without a rational basis”), 136 (alleging that Defendants “used dishonest, wrongful, and improper
means when intentionally interfering with the NRA’s business relationship with Lockton”).

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and qualified immunity is not grounds for dismissal.

                 b.     Absolute immunity cannot shield Vullo and Cuomo from their tortious
                        conduct.

          It is inappropriate to extend absolute immunity to cover Cuomo’s and Vullo’s actions that

went beyond their statutory or discretionary authority. New York courts, recognizing that the

immunity doctrine is a natural outgrowth of the “functions and duties of the particular government

official . . . whose conduct is at issue,” grant immunity according to the “scope of . . . discretion”

delegated to the public actor and the nature of the challenged conduct. 208 The purpose of absolute

immunity is not to shield government defendants from suits challenging patently unlawful

conduct; rather, its purpose is founded on the need to keep “officials free to exercise their discretion

unhampered by the fear of retaliatory lawsuits.”209

          That concern is wholly inapplicable here, as the conduct challenged—the Lockton Consent

Order’s prohibiting Lockton from participating in lawful affinity insurance programs with the

NRA—does not fall within any statutory or other grant of discretion. No provision of New York

law, including DFS’s enabling statute, authorizes the conduct at issue. Defendants implicitly

acknowledge this fact, as neither the Consent Orders nor their Motion identifies any relevant

authority for their conduct.210 DFS’s mandate, broad as it is, can only be interpreted to include

powers explicitly given to it by statute and powers to regulate unlawful conduct for the banking



208
      Arteaga v. State, 72 N.Y.2d 212, 216 (N.Y. 1988).
209
   Id.; see Haddock, 75 N.Y.2d at 484–85 (holding that the application of immunity is grounded
in the interest in having official “exercise their judgment and discretion” without fear of suit)
(emphasis added).
210
   The Motion cites various provisions of the Financial Services Law; however, these provisions
do not grant Cuomo or Vullo the right to wholesale prohibit private parties from engaging in
insurance programs that fully comply with the Insurance Law merely because they dislike the
parties’ political positions.

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and insurance industries. In asserting that absolute immunity protects them from accountability

for their ultra vires conduct, Defendants ask this Court to adopt a position that has never been

endorsed by any court: that government officials, acting without any statutory or otherwise

applicable authority, are entitled to an absolute and unwavering immunity. That result would

render government actors wholly unaccountable in the courts of law, a result which the Court

cannot condone.

          Accordingly, Defendants’ arguments for dismissing the NRA’s tortious interference claim

lack merit and the Court should deny Defendants’ Motion.

G.        The NRA More Than Sufficiently Pleads A Freedom-Of-Association Claim.

          “[I]mplicit in the right to engage in activities protected by the First Amendment” is “a

corresponding right to associate with others in pursuit of a wide variety of political, social,

economic, educational, religious, and cultural ends.”211 Here, Defendants’ actions are directly and

substantially interfering with the NRA’s, and its members’, clear constitutional “‘right to associate

for the purpose of engaging in those activities protected by the First Amendment.’”212

          1.     The associational rights at issue are between the NRA and its members, not
                 the NRA and financial institutions.

          Defendants mistook the bases upon which the NRA alleges that its right to associate is

infringed. The NRA does not contend, as Defendants argue, that its First Amendment rights were

violated merely because it cannot associate with other businesses. On the contrary, the Complaint




211
      Roberts v. United States Jaycees, 468 U.S. 609, 622 (1984).
212
   Corso v. Fischer, 983 F. Supp. 2d 320, 330 (S.D.N.Y. 2013) (quoting Roberts, 468 U.S. at
618). Furthermore, it is well settled that “abridgement of [First Amendment] rights . . . may
inevitably follow from varied forms of government action” even if that action is indirect and
merely discourages the exercise of said rights. Nat’l Ass’n for Advancement of Colored People v.
State of Ala. ex rel. Patterson, 357 U.S. 449, 461 (1958).

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sets forth specific allegations that Defendants’ actions curtailed and continue to inhibit the NRA’s

ability to secure critical banking and insurance services that are required to function as an

organization, in turn preventing the NRA and its members from exercising their associational rights

with each other under the First Amendment. Absent these essential business services, the NRA

and its members will be precluded from associating to espouse their pro-Second Amendment

beliefs—a political activity that the First Amendment protects.213

          2.     Defendants’ actions infringe upon the NRA’s expressive association with its
                 members.

          Defendants’ censorship campaign threatening basic banking and insurance services for the

NRA,214 knowing full well that the NRA’s and its members’ ability to express their message

depends upon these services, unlawfully stifles the NRA’s and its members’ freedom to associate

under the First Amendment. Courts recognize that the First Amendment is implicated even where

government action does not directly forbid protected speech. Just as the forced disclosure of a

membership list in Patterson “entail[ed] a likelihood of a substantial restraint upon the exercise .

. . of [the] right to freedom of association,”215 Defendants’ conduct has the same effect upon the

NRA’s associational rights.

          In an effort to avoid the effect of the straightforward allegations in the Complaint,

Defendants misstate the requirements for pleading the NRA’s freedom of association claim and




213
   See Patterson, 357 U.S. at 460–61; see also Fighting Finest, Inc. v. Bratton, 95 F.3d 224, 227
(2d Cir. 1996) (noting that lobbying is the “kind[] of activit[y] . . . traditionally associated with the
First Amendment).
214
   Defendants’ claim that they cannot place restrictions on financial institutions outside of New
York is disingenuous at best; especially considering the Chubb Consent Order includes restrictions
on business relationships with the NRA outside of New York. See Dkt. 37-5, at ¶ 22.
215
      See Patterson, 357 U.S. at 462.

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improperly seeks to hold the NRA to an incorrect standard clearly not required for expressive

association.216 To sustain a claim for a violation of its right to expressive association, the NRA

need only show that: (1) it engaged in expressive association protected by the First Amendment;

(2) Defendants’ actions cognizably burdened the NRA’s right to expressive association; and (3)

Defendants’ actions do not serve compelling state interests, unrelated to the suppression of ideas,

that cannot be achieved through means significantly less restrictive of associational freedoms.217

The Complaint pleads each of these requirements.

                 a.     The NRA is engaged in expressive association protected by the First
                        Amendment.

          The NRA and its members associate for the purpose of engaging in political advocacy

advancing the Second Amendment rights of all Americans, including through letter-writing

campaigns, peaceable public gatherings, and other grassroots “lobbying” activities.218 There can

be no real dispute that this is the exact activity of expressive association that is protected by the

First Amendment.219



216
    Defendants incorrectly maintain that the NRA’s claim must fail because it does not meet the
standard articulated in Smith v. Arkansas State Highway Employees, 441 U.S. 463 (1979). The
First Amendment analysis in Smith, however, is in the context of an individual’s right to petition
the government for a redress of grievances and is inapposite to the NRA’s freedom of association
claim. See id. at 465. Unlike plaintiffs in Smith, the NRA’s freedom of association claim is rooted
in Defendants’ infringement of the NRA’s and its members’ right to expressive association. See
Compl. at ¶¶ 94–95, 100. Defendants argument, therefore, that the right to associate is violated
only when the government generally prohibits certain forms of advocacy or imposes sanctions for
the expression of particular views it opposes is misplaced. See e.g., Patterson, 357 U.S. at 462
(opining that the government’s “[c]ompelled disclosure of membership in an organization engaged
in advocacy of particular beliefs . . . may in many circumstances be indispensable to preservation
of freedom of association, particularly where a group espouses dissident beliefs”).
217
      Tabbaa v. Chertoff, 509 F.3d 89, 101–02 (2d Cir. 2007).
218
      See Compl. at ¶ 95.
219
   Defendants acknowledge that the First Amendment protects the right of associations such as
the NRA to advocate on behalf of their members. See Motion at 33; see also Brandenburg v. Ohio,

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                 b.     Defendants’ actions cognizably burdened the NRA’s right to expressive
                        association.

          Defendants’ actions, including through issuing the Consent Orders, the Cuomo Press

Release, and April 2018 Letters, have burdened the NRA’s right to expressive association. In

order for actions to “cognizably burden” a plaintiff’s associational right, the actions or interference

must be “direct and substantial” or “significant.”220 Defendants’ interference has caused the NRA

to encounter serious difficulties in obtaining corporate insurance coverage, medical liability

coverage, and basic banking services, all of which are critical to the NRA’s ability to continue to

operate as an ongoing entity and engage in political advocacy.221 The fact that the NRA will be

rendered unable to engage in several forms of core speech—from holding rallies to publishing

media content—if the extinguishment of its insurance and banking relationships continues222 is



395 U.S. 444, 456 (1969) (“One’s beliefs [regarding political parties] have long been thought to
be sanctuaries which government could not invade.”); Patterson, 357 U.S. at 460 (“Effective
advocacy of both public and private points of view, particularly controversial ones, is undeniably
enhanced by group association.”); Fighting Finest, Inc., 95 F.3d at 227 (quoting Roberts, 468 U.S.
at 622 (“[I]mplicit in the right to engage in activities protected by the First Amendment [is] a
corresponding right to associate with others in pursuit of a wide variety of political, social,
economic . . . and cultural ends.”)); Brady v. Town of Colchester, 863 F.2d 205, 217 (2d Cir. 1988)
(noting that any violation of the freedom to associate in pursuit of political advocacy is cognizable
under the law).
220
      See Tabbaa, 509 F.3d at 101.
221
   See Compl. at ¶¶ 96-99. Without citing any authority in, Defendants incorrectly contend that
the NRA must allege that no insurers or banks are willing to do business with the NRA. See
Motion at 35. However, merely because there might be some theoretical bank or insurer that would
do business with the NRA, it does not change that fact that Defendants actions are causing a direct,
substantial, and significant burden on the NRA. See e.g., Compl. at ¶ (“nearly every carrier has
indicated that it fears transacting with the NRA specifically in light of DFS’s actions”).
222
    Defendants complain that the NRA’s allegations regarding its harm are speculative and,
therefore, insufficient to withstand a motion to dismiss. See Motion at 36. However, harm that
will occur in the future can form the basis of a freedom of association claim. See Patterson, 357
U.S. at 462 (finding a violation of plaintiffs’ freedom of association even though the discrimination
alleged would only occur in the future). Furthermore, Defendants misunderstand the standard for
a motion to dismiss, which requires the Court to take the NRA’s allegations with respect to its

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sufficient evidence of the direct, substantial, and significant nature of the burden Defendants have

placed on the NRA’s right to expressive association.223

               c.      Defendants’ actions do not serve compelling state interests.

       While Defendants’ actions with respect to the enforcement of the Insurance Laws against

Chubb and Lockton may arguably serve a compelling state interest, their actions restricting lawful

business relationships with the NRA does not serve any compelling state interest.224 The existence

of a compelling state interest for one activity—enforcing certain provisions of the Insurance

Law—does not give Defendants carte blanche to commit constitutional violations.225 Furthermore,

even if the Court determined that Defendants’ threats to financial institutions and explicit

restrictions on business relationships both served a compelling state interest, Defendants can serve

this interest through means significantly less restrictive of associational freedoms. For example,




difficulties in finding insurance and banking services as true and accompany it with every
reasonable inference in the NRA’s favor. See Sassi, 2017 WL 4773320, *3.
223
    See Tabbaa, 509 F.3d at 101 (“Government action can constitute a direct and substantial
interference with associational rights even if there is no prior restraint and no clear chilling of
future expressive activity. For example, when government action substantially penalizes members
of a group for exercising their First Amendment rights, that penalty in itself can constitute a
substantial burden, even if the government did no prevent the group from associating and
regardless of any future chilling effect.”); see also Healy v. James, 408 U.S. 169, 183 (1972)
(explaining that “the Constitution’s protection is not limited to direct interference with
fundamental rights” and plaintiffs suffered a substantial burden due to the “disabilities imposed”
by defendant’s actions even though plaintiffs did not demonstrate a chilling effect on their desire
or ability to associate in the future).
224
   See, e.g., Edenfield v. Fane, 507 U.S. 761, 770-771 (1993) (finding that a blanket prohibition
on solicitation did not directly advance the substantial state interests, including to prevent fraud);
Consol. Edison Co. of N.Y. v. Pub. Serv. Comm'n of N.Y., 447 U.S. 530, 543 (1980) (“Mere
speculation of harm does not constitute a compelling state interest.”).
225
   See Gomillion v. Lightfoot, 364 U.S. 339, 347–48 (1960) (“‘Acts generally lawful may become
unlawful when done to accomplish an unlawful end, and a constitutional power cannot be used by
way of condition to attain an unconstitutional result.’”) (quoting W. Union Telegraph Co. v. Foster,
247 U.S. 105, 114 (1918) (internal citation omitted)).

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Defendants could have entered the Consent Orders without singling out the NRA and precluding

it from conducting lawful business activities with Lockton and Chubb.

          The NRA, therefore, more than sufficiently pleaded a freedom of association claim.226

H.        In The Alternative, The Court Should Grant The NRA Leave To Amend.

          The allegations of the Complaint are sufficient to state claims for relief. If the Court

disagrees, however, the NRA should be granted leave to amend. Under the Federal Rules of Civil

Procedure, leave to amend should be freely granted.227 Here, cause will exist to grant leave to

amend because this action has been pending for only a few months, no trial date has been set,

discovery has not yet started, and Defendants will not suffer any prejudice.228

                                        IV. CONCLUSION

          For the foregoing reasons, the NRA respectfully requests that this Court deny Defendants’

Motion to Dismiss in its entirety or, alternatively, grant the NRA leave to amend the Complaint.




226
   As discussed supra, Defendants’ government speech argument is without merit and cannot
serve as grounds for dismissing any of the NRA’s First Amendment claims, including freedom of
association. See Motion at 37.
227
      See Fed. R. Civ. P. 15(a).
228
    See Foman v. Davis, 371 U.S. 178, 182 (1962) (“In the absence of any apparent or declared
reason—such as undue delay, bad faith, or dilatory motive on part of the movement, repeated
failure to cure deficiencies by amendments previously allowed, undue prejudice to the opposing
party by virtue of allowance of the amendment, futility of amendment, etc.—the leave sought
should, as the rules require, be ‘freely granted.’”); State Teachers Retirement Bd. v. Fluor, 654
F.2d 843, 856 (2d Cir. 1981) (denying leave to amend was an abuse of discretion where a trial date
had not been set and where new claims would not require “a great deal of additional discovery” or
otherwise cause defendant to suffer prejudice); Lorely Fin. (Jersey) No. 3 Ltd., v. Wells Fargo
Securities, LLC, 797 F.3d 160, 190 (2d Cir. 2015) (noting that leave to amend should be granted
according to a “liberal standard,” the court explained that the grounds for denying leave to amend
are “undue delay, bad faith, dilatory motive, and futility”).

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Dated: August 24, 2018              Respectfully submitted,

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